     Case 13-90942         Doc 780        Filed 06/08/18 Entered 06/08/18 15:54:56              Desc Notice of
                                              Hearing-BK Page 1 of 1
Form ntchrgBK

                                    UNITED STATES BANKRUPTCY COURT
                                           Central District of Illinois
                                             203 U.S. Courthouse
                                              201 S. Vine Street
                                              Urbana, IL 61802


In Re:    Earl Gaudio & Son, Inc.                           Case No.: 13−90942
          Debtor
                                                            Chapter: 11

PLEASE TAKE NOTICE that a Hearing will be held at

      U.S. Courthouse, Courtroom C, 1st Floor, 201 S. Vine Street, Urbana, IL 61802

      on 7/11/18 at 10:30 AM

to consider and act upon the following:

Debtor's Objection to Claim 47−1 of Helen Gaudio, Guardian of the Estate of Earl Gaudio, and any objections
thereto.


Dated: 6/8/18


                                                     /S/ Adrienne D. Atkins
                                                    Clerk, U.S. Bankruptcy Court



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